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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   6     VIRGINIA M LAMBRIX, et al.,                         Case No. 23-cv-01145-TLT
                                                        Plaintiffs,
                                   7
                                                                                             ORDER GRANTING, IN PART, AND
                                                  v.                                         DENYING, IN PART, DEFENDANT’S
                                   8
                                                                                             MOTION TO DISMISS
                                   9     TESLA, INC.,
                                                                                             RE: DKT. NO. 135
                                                        Defendant.
                                  10

                                  11
                                              Virginia M. Lambrix, Sean Bose, Patrick Doyle, Adriana Ferreira, Philomena Nana-
                                  12
Northern District of California
 United States District Court




                                  13   Anyangwe, Jason Pratti, Anthony Adjuder, Connor Shore, and Jason Pratti (collectively,

                                  14   “Plaintiffs”), bring this antitrust putative class action lawsuit against Tesla, Inc. (“Defendant”),

                                  15   individually and on behalf of “all persons or entities in the United States who paid for Tesla
                                  16
                                       Repair Services or Tesla-Compatible Parts from March 2019 to the present.” ECF No. 131, ¶ 218.
                                  17
                                       Plaintiffs assert causes of action for (1) Violation of Section 1 of the Sherman Act (“Section 1”)
                                  18
                                       for Monopolization of the Tesla Repair Services Market, (2) Violation of Section 1 for
                                  19
                                       Monopolization of the Tesla-Compatible Parts Market, (3) Violation of Section 1 for Attempted
                                  20

                                  21   Monopolization of the Tesla Repair Services Market, (4) Violation of Section 1 for

                                  22   Monopolization of the Tesla-Compatible Parts Market, (5) Violation of Section 2 of the Sherman
                                  23   Act (“Section 2”) for Unlawful Tying, (6) Violation of the California Cartwright Act (“CCA”) for
                                  24
                                       Unlawful Tying, (7) Violation of the CCA for Combination in Restraint of Trade, and (8)
                                  25
                                       Violation of the Unfair Competition Law.
                                  26
                                              Before the Court is Defendant’s Motion to Dismiss Plaintiffs’ Second Consolidated
                                  27

                                  28   Amended Complaint. ECF No. 135.
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                                               Having carefully considered the parties’ briefs, oral arguments, relevant legal authority,
                                   1

                                   2   and for the reasons stated below, Defendant’s motion to dismiss is hereby GRANTED, IN PART,

                                   3   DENIED, IN PART. Defendant’s motion is DENIED as to claims 1 through 5, and claim 7.

                                   4   Defendant’s motion is DENIED as to claim 6, to the extent it relies on electric vehicles or parts as
                                   5
                                       the tying product. As conceded in Plaintiffs’ brief, Defendant’s motion is GRANTED with
                                   6
                                       prejudice as to claim 6, to the extent it relies on services as a tying product.
                                   7
                                       I.      BACKGROUND
                                   8
                                               A.     Procedural History
                                   9

                                  10           This case arises from five related lawsuits. On March 14, 2023, Plaintiff Virginia Lambrix

                                  11   filed a complaint against Tesla, Inc. See ECF No. 1. Upon filing of related case motions from
                                  12   various parties, and a magistrate referral, this Court related four other actions filed against Tesla to
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                                  13
                                       this case: Orendain v. Tesla, Inc., Case No. 23-cv-01157 (N.D. Cal) (filed Mar. 15, 2023; Bose v.
                                  14
                                       Tesla, Inc., Case No. 23-cv-01496, (N.D. Cal) (filed Mar. 29, 2023); Doyle v. Tesla, Inc., Case
                                  15
                                       No. 23-cv-01543 (N.D. Cal) (filed Mar. 31, 2023); Nana-Anyangwe v. Tesla, Inc., Case No. 23-
                                  16

                                  17   cv-02035 (N.D. Cal) (filed Apr. 26, 2023). See ECF Nos. 21, 35, 41.

                                  18           On June 23, 2023, the Court consolidated the cases. See ECF No. 60. On July 17, 2024,

                                  19   Plaintiffs filed their first amended consolidated complaint, bringing claims under the Sherman
                                  20   Act, the CCA, and the UCL. ECF No. 63 (“First Consolidated Amended Complaint” or “FCAC”).
                                  21
                                       Two weeks later, Defendant filed a motion to dismiss and a motion to compel arbitration for
                                  22
                                       Plaintiffs Danielle Thys, Cary Phillips, and Levi Stoffal. See ECF Nos. 75–76. On September 27,
                                  23
                                       2023, the Court granted the motion to compel, and stayed the proceedings as to Thys, Phillips, and
                                  24

                                  25   Stoffal. See ECF No. 112. On November 17, 2023, the Court granted the motion to dismiss with

                                  26   leave to amend, based on its finding that Plaintiffs had not “established that Tesla Repair Services

                                  27   and Tesla-Compatible Parts are relevant single-brand aftermarkets, which caused all their federal
                                  28
                                       and state claims to fall short.” ECF No. 122 (“FCAC Order”), at 16.
                                                                                       2
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                                              On December 8, 2023, Plaintiffs filed the Second Consolidated Amended Complaint. ECF
                                   1

                                   2   No. 131 (“Second Consolidated Amended Complaint” or “SCAC”). On December 22, 2023,

                                   3   Defendant filed a Motion to Dismiss and Request for Judicial Notice for exhibits attached to the

                                   4   Motion. ECF No. 35 (“Motion”).
                                   5
                                              On April 2, 2024, the Court held a hearing on the filings, granted judicial notice or
                                   6
                                       incorporation by reference to Exhibits B, H, K, and L, and took the remaining filings under
                                   7
                                       submission.
                                   8
                                              B.      Facts
                                   9

                                  10          Plaintiffs are individuals who reside in California, Colorado, Florida, and Maryland. See

                                  11   SCAC ¶¶ 9–28. They are owners or lessors of battery-electric motor vehicles (“EVs”)
                                  12   manufactured by Tesla. See id. Tesla is a multinational automotive and clean energy company
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                                  13
                                       that designs, manufactures, and sells EVs that operate on public streets. See id. ¶ 29. Between
                                  14
                                       2019 and 2022, Defendant has fluctuated anywhere between 65% and 80% market share in the
                                  15
                                       United States EV market. See id. ¶ 53.
                                  16

                                  17          Because all EVs are designed differently, Plaintiffs allege that Tesla EVs can only be

                                  18   maintained and repaired by a service provider “who specializes in the maintenance and repair of

                                  19   Tesla EVs.” Id. ¶ 58–59. For car services, Tesla directs vehicle owners to Tesla-Owned Service
                                  20   Centers, Tesla-Owned Collision Centers, or Tesla-Approved Collision Centers. Plaintiffs allege
                                  21
                                       that Tesla-Approved Collision (“TACCs”) centers are “independently owned, [but] are forced to
                                  22
                                       rely on Tesla itself to source Tesla-Compatible Parts and pricing.” Id. ¶ 66. Plaintiffs allege that
                                  23
                                       vague provisions in Tesla’s warranties stating that warranties will be void or coverage may be
                                  24

                                  25   excluded based on “improper maintenance, service or repairs,” effectively prevents owners from

                                  26   repairing their own vehicles or using independent service-providers. Id. ¶ 182. Except for certain

                                  27   “basic maintenance services (e.g., tire rotation), Plaintiffs claim that virtually all Tesla Repair
                                  28
                                                                                          3
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                                       Services are performed” by the Tesla-Owned Centers or the Tesla-Approved Collision Centers. Id.
                                   1

                                   2   ¶ 67.

                                   3           Plaintiffs further allege that Tesla owners are “locked in” to using car parts that were

                                   4   specifically designed to be compatible with Teslas. Id. ¶ 72. Tesla manufactures some components
                                   5
                                       for its EVs and purchases other components from suppliers around the world. Id. ¶ 156. Plaintiffs
                                   6
                                       claim that Tesla restricts the availability of Tesla-Compatible Parts “by, among other things,
                                   7
                                       requiring at least some of its suppliers to enter into de facto exclusivity agreements.
                                   8
                                       preventing those suppliers from manufacturing Tesla-Compatible Parts for anyone other than
                                   9

                                  10   Tesla.” Id. ¶ 157. Further, Plaintiffs assert that Tesla has imposed various roadblocks preventing

                                  11   independent service-providers from accessing Tesla-Compatible Parts and providing repair
                                  12   services to Tesla owners. Although Tesla published a catalog of its parts in 2018, “numerous parts
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                                  13
                                       in Tesla's catalog are unavailable for purchase” and “Tesla reportedly ignores parts requests from
                                  14
                                       independent.” Id. ¶¶ 91–92. Further, Tesla allegedly requires some purchasers to “provide a VIN
                                  15
                                       number and proof of vehicle ownership before it will sell certain parts,” which prevents
                                  16

                                  17   independent entities from providing repair services to consumers. Id. Finally, Tesla has exclusive

                                  18   possession of a tool that is necessary to code and activate certain Tesla parts. Id. ¶ 93. Thus, many

                                  19   parts that can be purchased from Tesla cannot be properly installed without assistance from Tesla.
                                  20   Id. And many repairs require that the cars be put in “diagnostic” or “service” mode, and Plaintiffs
                                  21
                                       allege that Tesla “geo-fenced . . . their EVs so they would only enter diagnostic or service mode
                                  22
                                       when located in a Tesla Service Center or Tesla-Approved Collision Center.” Id. ¶ 148.
                                  23
                                               Plaintiffs allege that Tesla has limited the number of the independent Tesla-Approved
                                  24

                                  25   Collision Centers through imposition of onerous certification requirements and exposure to

                                  26   various competitive risks. Id. ¶¶ 166–174. Plaintiffs also allege that, despite Tesla’s rapid growth,

                                  27   Tesla has chosen not to invest in development of its Service and Collision Centers. Id. ¶ 175.
                                  28
                                       Plaintiffs assert that Tesla’s actions to restrict access to parts and services has forced Tesla owners
                                                                                            4
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                                       to pay supracompetitive prices for parts and services, while enduring extensive wait periods to
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                                   2   have their EVs fixed. Id. ¶ 192.

                                   3            C.     The Second Consolidated Amended Complaint

                                   4            Plaintiffs have supplemented their claims between the first and second consolidated
                                   5
                                       amended complaints. First, they clarified that none of the Plaintiffs were aware of any of the
                                   6
                                       repair restrictions described in the complaint. See SCAC ¶¶ 10, 12, 14, 16, 21, 23, 25, and 28.
                                   7
                                       Second, they added specific allegations of price insensitivity, such that competition in the relevant
                                   8
                                       markets do not affect consumer demand of parts and services. See id. ¶¶ 60, 75. Third, they
                                   9

                                  10   clarified and added allegations to their pleading of significant information costs that prevent life-

                                  11   cycle pricing and high switching costs. See id. ¶¶ 89–106. Last, they added various allegations
                                  12   regarding Tesla’s purported anticompetitive conduct in both the EV foremarket and its
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                                  13
                                       aftermarkets. See id.
                                  14
                                       II.      LEGAL STANDARD
                                  15
                                                Under Federal Rule of Civil Procedure 12(b)(6), a defendant may move to dismiss an
                                  16

                                  17   action for failure to allege “enough facts to state a claim to relief that is plausible on its face.” Bell

                                  18   Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the

                                  19   plaintiff pleads factual content that allows the court to draw the reasonable inference that the
                                  20   defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The
                                  21
                                       plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer
                                  22
                                       possibility that a defendant has acted unlawfully.” Id. For purposes of ruling on a Rule 12(b)(6)
                                  23
                                       motion, the Court “accept[s] factual allegations in the complaint as true and construe[s] the
                                  24

                                  25   pleadings in the light most favorable to the nonmoving party.” Manzarek v. St. Paul Fire &

                                  26   Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008).

                                  27            Still, the Court is not required to “assume the truth of legal conclusions merely because
                                  28
                                       they are cast in the form of factual allegations.” Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir.
                                                                                          5
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                                       2011) (quoting W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981)). Mere “conclusory
                                   1

                                   2   allegations of law and unwarranted inferences are insufficient to defeat a motion to dismiss.”

                                   3   Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004); accord Iqbal, 556 U.S. at 678.

                                   4   Furthermore, “a plaintiff may plead herself out of court” if she “plead[s] facts which establish that
                                   5
                                       [s]he cannot prevail on h[er] . . . claim.” Weisbuch v. Cnty. of Los Angeles, 119 F.3d 778, 763 n.1
                                   6
                                       (9th Cir. 1997) (quoting Warzon v. Drew, 60 F.3d 1234, 1239 (7th Cir. 1995)). “If there are two
                                   7
                                       alternative explanations, one advanced by defendant and the other advanced by plaintiff, both of
                                   8
                                       which are plausible, plaintiff’s complaint survives a motion to dismiss under Rule 12(b)(6).”
                                   9

                                  10   Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011).

                                  11   III.    DISCUSSION
                                  12          Plaintiffs allege eight causes of action: under Sections 1 and 2 of the Sherman Act;
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                                  13
                                       Sections 16720, 16726, and 16727 of the California Cartwright Act; and Section 17200 of
                                  14
                                       California’s UCL. See SCAC ¶ 1. Defendant argues that Plaintiffs do not state any viable claims
                                  15
                                       under federal and state law. See Motion, at 1.; see also Fed. R. Civ. P. 12(b)(6). The Court
                                  16

                                  17   addresses Plaintiffs’ claims below, first under the Sherman Act, then under the California

                                  18   Cartwright Act, and finally under the UCL.

                                  19          A.      The Court applies Rule of Reason analysis to Plaintiffs’ claims.
                                  20          Courts categorize Sherman Act claims as either (1) per se claims, or (2) Rule of Reason
                                  21
                                       claims. Epic Games, 67 F.4th at 974. Per se claims arise out of restraints on trade that “always or
                                  22
                                       almost always tend[s] to restrict competition and decrease output.” Id. (citing Ohio v. American
                                  23
                                       Express Co., 585 U.S. 529, 541 (2018)). “When a per se prohibition applies, we deem a restraint
                                  24

                                  25   unlawful without any ‘elaborate study of the industry’ in which it occurs.” Epic Games, 67 F.4th

                                  26   at 974 (citing Ohio, 585 U.S. at 541). Where a plaintiff does not allege a per se violation, their

                                  27   claims are subject to the Rule of Reason analysis. This analysis generally requires a plaintiff to
                                  28
                                       define the relevant market and show that the “challenged restraint that harms consumers in the
                                                                                       6
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                                       relevant market.” Id. at 983 (quoting Ohio v. Am. Express Co., 585 U.S. 529, 543 (2018)).
                                   1

                                   2          “Given the costs of improperly condemning a practice across the board,” courts are

                                   3   required to exercise “caution and judicial humility” before categorizing a practice targeted by the

                                   4   plaintiff as a per se violation. Typically, only “‘horizontal’ restraints—restraints ‘imposed by
                                   5
                                       agreement with competitors’—qualify as unreasonable per se.” Ohio, 585 U.S. at 541. Vertical
                                   6
                                       price fixing is subject to Rule of Reason analysis. Id.. “Hybrid conspiracies,” in which a
                                   7
                                       “manufacturer operates at two distinct levels . . . by acting as both a supplier and a distributor of
                                   8
                                       its own products,” and has an agreement with a competitor at one of these levels, are subject to the
                                   9

                                  10   Rule of Reason. Dimidowich v. Bell & Howell, 803 F.2d 1473, 1481-82 (9th Cir. 1986), modified

                                  11   on unrelated grounds by Dimidowich v. Bell & Howell, 810 F.2d 1517, (9th Cir. 1987).
                                  12          Here, Plaintiffs allege that its claims are based on per se violations of the Sherman Act.
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                                  13
                                       Plaintiffs argue that their claims are based on horizontal restraints because Tesla has entered into
                                  14
                                       de facto exclusivity agreements with TACCs and Tesla-Compatible Parts manufacturers and
                                  15
                                       distributors, while also independently providing services and selling parts. Tesla, however, is also
                                  16

                                  17   a manufacturer of EVs, and utilizes TACCs to provide repair services to the EVs and the

                                  18   manufacturers to manufacture and distribute certain parts. Thus, Plaintiffs’ claims are based on a

                                  19   “hybrid conspiracy,” and are subject to the Rule of Reason.1
                                  20          B.      Plaintiffs sufficiently plead the relevant markets.
                                  21
                                              In most Sherman Act cases where a plaintiff alleges that a defendant harmed market
                                  22
                                       competition, “[a] threshold step . . . is to accurately define the relevant market.” FTC v.
                                  23
                                       Qualcomm Inc., 969 F.3d 974, 992 (9th Cir. 2020). A plaintiff need not plead the existence of a
                                  24

                                  25

                                  26
                                       1
                                         “Only when there is a possibility that the restraint in the market in which there is a horizontal
                                       relationship will have significant procompetitive effects in the other market, as is the case when
                                  27   the markets are for the service and the distribution of the same product, is rule of reason analysis
                                       appropriate” for a hybrid arrangement. Dimidowich, 803 F.2d at 1481 n.6. To the extent Plaintiffs
                                  28   could allege the parts or services market do not impose restraints on the EV markets, Plaintiffs’
                                       claims may be categorized as per se violations.
                                                                                           7
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                                       market “with specificity,” and a proposed market definition will survive a Rule 12(b)(6) motion
                                   1

                                   2   unless it is apparent from the face of the complaint that the alleged market suffers a fatal legal

                                   3   defect.” Newcal Industries, Inc. v. Ikon Office Solution, 513 F.3d 1038, 1045 (2008).

                                   4           Here, Plaintiffs allege that Defendant’s anti-competitive conduct harmed competition in
                                   5
                                       the market for Tesla-Compatible Parts and Tesla Repair Services. Plaintiffs claim that Defendant’s
                                   6
                                       market power in the overall EV market enabled anti-competitive conduct in these aftermarkets.
                                   7
                                       The Court evaluates the sufficiency of allegations supporting these markets below.
                                   8
                                                       1.      Plaintiffs sufficiently plead an EV submarket.
                                   9

                                  10           A market is defined as “the area of effective competition – i.e., the arena within which

                                  11   significant substitution in consumption or production occurs.” Epic Games, Inc v. Apple, 67 F.4th
                                  12   946, 975 (9th Cir. 2023) (citing Ohio v. Am. Express Co., 585 U.S. 529, 543 (2018)). “A market
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                                  13
                                       comprises ‘any grouping of sales whose sellers, if unified by a monopolist or a hypothetical cartel’
                                  14
                                       could profitably raise prices above a competitive level.” Id. (citing Rebel Oil Co., Inc. v. Atl.
                                  15
                                       Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995)). Courts determine which products are included
                                  16

                                  17   in a certain market by evaluating what products have a “reasonable interchangeability of use or

                                  18   sufficient cross-elasticity of demand with each other.” Id. (citing Hicks v. PGA Tour, Inc. 897 F.3d

                                  19   1109, 1120 (9th Cir. 2018)). In making this determination, Courts evaluate empirical evidence,
                                  20   such as a Small, Significant, Non-transitory Increase in Price (“SSNIP”) analysis, which uses
                                  21
                                       consumer data to establish whether a “hypothetical monopolist could profitably impose a Small,
                                  22
                                       Significant, Non-transitory Increase in Price above a competitive level.” Id.
                                  23
                                               Courts also consider whether a proposed market has the “practical indicia” of an
                                  24

                                  25   economically distinct market, including “[1] industry or public recognition of the [market] as a

                                  26   separate economic entity, [2] the product’s peculiar characteristics and uses, [3] unique production

                                  27   facilities, [4] distinct customers, [5] distinct prices, [6] sensitivity to price changes, and [7]
                                  28
                                       specialized vendors.” Id. (citing Brown Shoe v. U.S., 370 U.S. 294, 325 (1962)). A submarket
                                                                                       8
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                                       within a general product market can constitute a distinct market for purposes of an anti-trust claim.
                                   1

                                   2   Hicks, 897 F.3d at 1120; see Lucas Automotive Engineering, Inc. v. Bridgestone/Firestone, Inc.,

                                   3   275 F.3d 762 (9th Cir. 2001) (“Lucas Auto.”) (holding that tires originally sold with vintage

                                   4   automobiles could plausibly be a distinct submarket within the general market of all other tires
                                   5
                                       which could be used for vintage automobiles).
                                   6
                                              Plaintiffs define the EV market as “battery-electric motor vehicles designed and sold to be
                                   7
                                       operated on public streets.” SCAC ¶ 39. The Court reiterates its holding that Plaintiffs have
                                   8
                                       plausibly alleged the existence of an EV market distinct from vehicles that use internal-
                                   9

                                  10   combustion engines (“ICE vehicles”). FCAC Order, at 9. As previously stated, EVs have peculiar

                                  11   characteristics and uses, traveling shorter distances and requiring frequent charging. SCAC ¶ 44.
                                  12   EVs and ICE vehicles require separate manufacturing processes and production facilities. See id.
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                                  13
                                       ¶ 52. For example, ICE vehicle plants are not accustomed to sourcing, producing, and
                                  14
                                       manufacturing battery packs for EVs. See id. Additionally, EVs are constructed with a different
                                  15
                                       kind of chassis, or frame, than ICE vehicles, and as a result, ICE production facilities cannot easily
                                  16

                                  17   be converted in EV production facilities. Id.

                                  18          Plaintiffs further allege that EVs cost more than similarly equipped ICE vehicles. See id. ¶

                                  19   40. For example, in April 2022, the average price of EVs was above $65,000, while all other
                                  20   motor vehicles cost an average of $20,000 less. See id. Plaintiffs claim that “consumers do not
                                  21
                                       view EVs and ICE vehicles as interchangeable products”—indeed, a recent study reports that
                                  22
                                       “96% of EV owners will only buy another EV for their next vehicle.” Id. ¶ 45. For example,
                                  23
                                       Ford—a U.S. automaker—publicized its decision to reorganize its company and separate EVs and
                                  24

                                  25   ICE vehicles into separate businesses. See id. ¶ 51. As such, Plaintiffs plausibly alleged that the

                                  26   public and industry analysts recognize EVs as a separate product market or submarket. See id. ¶

                                  27   39.
                                  28
                                                                                         9
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                                               Defendant argues that In re German Automotive Manufacturers Antitrust Litigation
                                   1

                                   2   (“German Auto.) weighs against finding the existence of an EV market. The Court disagrees, as

                                   3   German Auto. presented distinct factual circumstances. In German Auto., the plaintiffs proposed a

                                   4   market consisting entirely of diesel engine cars. Although the complaint implicitly acknowledged
                                   5
                                       that diesel engine cars competed with other cars that offered equivalent environmental and fuel-
                                   6
                                       efficiency benefits, the plaintiffs’ market definition excluded all such cars. Here, Plaintiffs
                                   7
                                       proposed market consists of zero-emission battery-electric cars. Unlike in German Auto., there are
                                   8
                                       no options that offer similar or equivalent zero-emission vehicles.
                                   9

                                  10           Lucas Auto., however, is an insightful analog. There, the Ninth Circuit held that tire brands

                                  11   that were used when a vintage car was first introduced could plausibly constitute a distinct market
                                  12   from tire brands offered well-after the car was introduced, even though both brands could be used
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                                  13
                                       on the vintage car today. 275 F.3d at 768. This holding was based, in part, on evidence suggesting
                                  14
                                       that vintage car consumers “absolutely insist[ed]” upon the original brand tires. Id. The Ninth
                                  15
                                       Circuit stated that “a legitimate inference can be drawn between the categorical insistence of
                                  16

                                  17   customers on, and to some degree their very strong preference for, [a product] and the expectation

                                  18   that should the price of such [product] be increased, these customers would nonetheless purchase

                                  19   the now-costlier version rather than substitute a less expensive, less authentic model.” Id.
                                  20   Familiarly, here, Plaintiffs allege that 96% of EV owners would get an EV as their next car, which
                                  21
                                       creates a “legitimate inference” that these owners would purchase a costlier version. SCAC ¶ 51.2
                                  22
                                       Thus, Plaintiffs sufficiently plead the existence of an EV market.
                                  23

                                  24

                                  25

                                  26   2
                                        The fact that the Lucas Auto. Court had some evidence specific to price-inelasticity does not
                                  27   diminish its relevance because: (1) that court was considering a motion for summary judgment
                                       with a much higher standard, and (2) the evidence of price-inelasticity was relatively
                                  28   underwhelming (e.g., a declarant “estimate[d]” that one-third of members of a vintage car club
                                       would be willing to pay more for original tires.) 275 F.3d at 767–68.
                                                                                         10
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                                                      2.     Plaintiffs sufficiently allege Tesla Repair Services, and the Tesla-
                                   1                         Compatible Parts, are cognizable, single-brand aftermarkets.
                                   2
                                              The relevant market can be a “single-brand aftermarket” where “demand for a good is
                                   3
                                       entirely dependent on the prior purchase of a durable good in a foremarket.” Epic Games, 67 F.4th
                                   4
                                       at 976 (emphasis omitted). The parties disagree on the proper test for determining the existence of
                                   5

                                   6   a single brand-aftermarket. An evaluation of the relevant law is below.

                                   7          In Eastman Kodak Co v. Image Tech. Servs., Inc., 504 U.S. 451, the plaintiffs alleged that

                                   8   Kodak, which manufactured and sold photocopiers, engaged in anticompetitive conduct that
                                   9   harmed the aftermarket for replacement parts and servicing of Kodak photocopiers. Kodak
                                  10
                                       claimed that, because it did not have market power in the photocopier market, it could not
                                  11
                                       plausibly have market power in a single-brand aftermarket. Id. at 466. Kodak’s reasoning went as
                                  12
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                                       follows: because the photocopier market was a competitive market in which it did not have market
                                  13

                                  14   power, consumers in that photocopier market would be able to identify Kodak’s attempts to charge

                                  15   supracompetitive prices in the parts and services aftermarket and choose to buy a different

                                  16   photocopier. Id. The existence of competition in the foremarket would discipline anti-competitive
                                  17
                                       conduct in the aftermarket, and it was thus irrational and implausible for Kodak to engage in anti-
                                  18
                                       competitive conduct in an aftermarket when it did not have market power in the foremarket. Id.
                                  19
                                       The Supreme Court rejected this argument, finding that Kodak could engage in anti-competitive
                                  20
                                       conduct in single-brand aftermarkets without possessing market power in the foremarket. Even if
                                  21

                                  22   there was competition in the foremarket, the Court stated that consumers may not be aware of the

                                  23   high prices in the aftermarket because of the difficulty most consumers would face in determining
                                  24   maintenance prices for “complex, durable equipment.” Id. at 473–75. The Court further held that
                                  25
                                       the high cost of switching photocopiers would prevent existing consumers who learned about the
                                  26
                                       supracompetitive prices of services and repairs from switching. Thus, these consumers would be
                                  27

                                  28
                                                                                       11
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                                       “locked in” and forced to “tolerate some level of service price increases before changing
                                   1

                                   2   equipment brands.” Id. at 476.

                                   3             Subsequently, the Ninth Circuit elaborated on the Kodak holding when presented with

                                   4   similar claims where a defendant allegedly harmed a single-brand aftermarket without market
                                   5
                                       power in the foremarket. The Ninth Circuit found that contractual obligations were not a
                                   6
                                       “cognizable source of market power.” Thus, circumstances in which a “consumer’s selection of a
                                   7
                                       particular brand in the competitive market [was] the functional equivalent of a contractual
                                   8
                                       commitment,” could not form the basis for antitrust claims. Newcal Indus., Inc. v. Ikon Office
                                   9

                                  10   Solution, 513 F.3d at 1047 (citing Forsyth v. Humana, 114 F.3d 1467, 1476 (9th Cir. 1997))

                                  11             Recounting the history of Kodak and Newcal, the Ninth Circuit discussed the issues
                                  12   presented by a lack of power in the foremarket in Epic Games¸ and aggregated the various
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                                  13
                                       considerations, stating:
                                  14
                                                        “to establish a single-brand aftermarket, a plaintiff must show: (1) the
                                  15                    challenged aftermarket restrictions are ‘not generally known’ when
                                                        consumers make their foremarket purchase; (2) ‘significant’
                                  16                    information costs prevent accurate life-cycle pricing; (3) ‘significant’
                                                        monetary or non-monetary switching costs exist; and (4) general
                                  17                    market-definition principles regarding cross-elasticity of demand do
                                                        not undermine the proposed single-brand market.”
                                  18
                                       67 F.4th at 977.
                                  19
                                                 Here, Defendant alleges that Plaintiffs must meet all four Epic Games factors to establish
                                  20

                                  21   its single-brand aftermarket. Plaintiffs, however, argue that these factors only apply to cases in

                                  22   which defendants do not have market power in the foremarket. Plaintiffs claim that, because they

                                  23   allege that Defendant has market power in the EV market, and the Epic Games factors derive from
                                  24   concerns about a lack of market power in the foremarket, these factors do not apply. This Court
                                  25
                                       agrees.
                                  26
                                                 The Kodak Court established the information and switching costs factors to address
                                  27
                                       Kodak’s argument that it was impossible for a defendant to have market power in an aftermarket
                                  28
                                                                                          12
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                                       without having market power in the foremarket. Eastman Kodak, at 504 U.S. at 467. In fact, the
                                   1

                                   2   Kodak Court explicitly declined to extend its analysis to a situation in which a defendant has a

                                   3   market power in the foremarket. Id. at 465 n.10 (declining to address respondents’ argument that

                                   4   Kodak had market power in the foremarket because it was not raised in their opposition to the
                                   5
                                       petition for certiorari, and stating that it would decide the case on the “premise . . . that
                                   6
                                       competition exists in the equipment market.”). The Ninth Circuit, in Newcal and Epic Games,
                                   7
                                       acknowledged that these factors were established to determine whether competition in the
                                   8
                                       foremarket would be able to “discipline” a defendant’s conduct in the aftermarket. See Newcal,
                                   9

                                  10   513 F.3d at 1050; Epic Games, 67 F.4th at 946. In both cases, the Ninth Circuit recognized that

                                  11   these inquiries were intended to evaluate whether consumers “ma[d]e a knowing choice to restrict
                                  12   their aftermarket options when they decide in the initial (competitive) market to enter a [] . . .
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                                  13
                                       contract.” Epic Games, 67 F.4th at 980–81 (emphasis added) (citing Newcal, 513 F.3d at 1050).3
                                  14
                                               From a practical perspective, the relevance of information costs, switching costs, and
                                  15
                                       general knowledge of restrictions is reduced where a defendant has market power in the
                                  16

                                  17   foremarket. Market power is defined as the power to “force a purchaser to do something he would

                                  18   not do in a competitive market.” Eastman Kodak, 504 U.S. at 2080. Consumers in a foremarket

                                  19   within which a company has market power have minimal ability to discipline the company’s
                                  20   conduct in aftermarkets, regardless of information costs, switching costs, and general awareness of
                                  21
                                       restrictions.
                                  22

                                  23

                                  24
                                       3
                                  25     For example, in Forsyth v. Humana, Inc., plaintiffs proposed a submarket that consisted of acute
                                       care hospitals used by consumers insured by Humana, as supported by the fact that the vast
                                  26   majority of Humana insureds used one acute care hospital as a result of Humana’s contractual
                                       disincentives. 114 F.3d at 1476. The Ninth Circuit rejected this argument because the boundaries
                                  27   of the market were defined by the consumers’ contractual obligations to Humana, which was an
                                       improper basis to establish a market. Id. The Court held, however, that “to succeed in the face of
                                  28   the contractual tie-in created by the insurance policies, the plaintiffs would have to make a
                                       showing of monopoly power in the health insurance market, and there is no evidence of this.” Id.
                                                                                         13
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                                              The Court finds that Plaintiffs have (1) sufficiently alleged that Defendant has market
                                   1

                                   2   power in the EV foremarket, and (2) sufficiently alleged the existence of single-brand aftermarkets

                                   3   for Tesla Repair Services and Tesla-Compatible Parts. Arguendo, even if Plaintiffs have not

                                   4   properly alleged market power in the EV market, Plaintiffs properly alleged the existence of these
                                   5
                                       aftermarkets under the Epic Games factors.
                                   6
                                                             a.      Plaintiffs sufficiently plead that Tesla possesses market power in
                                   7                                 the EV Market.

                                   8          Market power is defined as the power to “force a purchaser to do something he would not
                                   9   do in a competitive market.” Eastman Kodak, 504 U.S. at 2080. “The existence of such power
                                  10
                                       ordinarily is inferred from the seller’s possession of a predominant share of the market.” “Courts
                                  11
                                       generally require a 65% market share to establish a prima facie case of market power.” Image
                                  12
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                                       Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1206 (9th Cir. 1997) (citing American
                                  13

                                  14   Tobacco Co. v. United States, 328 U.S. 781, 797 (1946)); see Dreamstime.com, LLC v. Google

                                  15   LLC, 54 F. 4th 1130, 1137 n.5 (9th Cir. 2022).

                                  16          Here, Plaintiffs allege that Defendant had 65% to 80% market share in the EV foremarket
                                  17
                                       during the class period. SCAC ¶ 53. This factor is uncontested by Defendant. Consequently, the
                                  18
                                       Court finds that Defendant properly alleged market power in the EV foremarket.
                                  19
                                                             b.      Plaintiffs sufficiently plead the existence of aftermarkets for
                                  20                                 Tesla Repair Services and Tesla-Compatible Parts under
                                                                     general market definition principles.
                                  21

                                  22          Plaintiffs must demonstrate that their proposed aftermarkets show the absence of

                                  23   interchangeability and cross-elasticity of demand. In Eastman Kodak, the Supreme Court held that

                                  24   the respondents’ services and parts aftermarkets met this criterion “[b]ecause service and parts for
                                  25   Kodak equipment [were] not interchangeable with other manufacturers’ service and parts, the
                                  26
                                       relevant market from the Kodak equipment owner’s perspective [was] composed of only those
                                  27
                                       companies that service Kodak machines.” 504 U.S. at 482.
                                  28
                                                                                        14
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                                               Here, Plaintiffs allege that Tesla’s electric vehicles “are designed differently and utilize
                                   1

                                   2   different parts that are not interchangeable with other EVs.” SCAC ¶ 58. A “Tesla EV owner must

                                   3   bring his or her EV to a service provider who specializes in the maintenance and repair of Tesla

                                   4   EVs.” Id. ¶ 59. Thus, service and parts for Teslas are not interchangeable with other EV
                                   5
                                       manufacturers. As a result, the aftermarkets are properly limited to Tesla-Compatible Parts and
                                   6
                                       Tesla Repair Services.
                                   7
                                               Defendant claims that Plaintiffs insufficiently plead that the proper geographic market for
                                   8
                                       these aftermarkets is the United States. According to Defendant, a geographic market should be
                                   9

                                  10   limited to the area “where buyers can turn for alternative sources of supply,” and Plaintiffs do not

                                  11   explain how “repair services in New Jersey could plausibly be a substitute for repair services in
                                  12   California for a Tesla owner.” Motion, at 19 (citing Reilly v. Apple, Inc., 578 F. Supp. 3d 1098, 1109
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                                  13
                                       (N.D. Cal. 2022)). A market should “reflect commercial realities.” U.S. v. Grinnell Corp., 384
                                  14
                                       U.S. 563, 572 (1966). Even where a consumer may primarily receive services from a local
                                  15
                                       provider, a geographic market that covers that the entire United States is appropriate where “the
                                  16
                                       business of providing such a service is operated on a national level.” Id. at 572. For purposes of a
                                  17

                                  18   motion to dismiss, Plaintiffs have plausibly alleged that the Defendant implemented its policies on

                                  19   a nationwide level.4
                                  20                            c.    Even if Plaintiffs were required to satisfy the Epic Games
                                                                      factors, Plaintiffs sufficiently plead the existence of
                                  21
                                                                      aftermarkets.
                                  22
                                               Regardless of the existence of market power in the foremarket, Plaintiffs’ allegations
                                  23
                                       satisfy the Epic Games factors for purposes of surviving a motion to dismiss.
                                  24

                                  25

                                  26   4
                                         Defendant incorrectly claims that this Court already found in its prior order that Plaintiffs failed
                                  27   to allege price sensitivity. Motion, at 10. The language from the Court’s order that Defendant cites
                                       to for this contention addresses Plaintiffs’ allegations regarding price insensitivity in the EV
                                  28   market, not in the Tesla-Compatible Parts or Tesla Services Market. FCAC Order, at 9 (“Plaintiffs
                                       do not allege that EVs are insensitive.”)
                                                                                          15
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                                                                      (i)     Plaintiffs sufficiently allege they were generally unaware.
                                   1

                                   2          The first requirement, that the restrictions in the aftermarket are not generally known, is a

                                   3   “crucial” one. Epic Games, 67 F.4th at 977 (quoting Eastman Kodak, 504 U.S. at 477). This

                                   4   unawareness requirement places “the burden on a plaintiff to ‘rebut the economic presumption
                                   5
                                       that . . . consumers make a knowing choice to restrict their aftermarket options’ when they make a
                                   6
                                       foremarket purchase.” Id. (quoting Newcal, 513 F.3d at 1050). “Kodak does not impose a
                                   7
                                       requirement that a plaintiff show ‘complete ignorance’ of a defendant’s aftermarket restrictions; it
                                   8
                                       need only show that the restrictions are not ‘generally known.’” Id. at 979 n.10. While the Ninth
                                   9

                                  10   Circuit has not defined what, exactly, “amounts to general unawareness,” a plaintiff must present

                                  11   at least some evidence to fulfill this prong. Id. at 979 n.10.
                                  12          Plaintiffs provide an assortment of evidence that makes a plausible showing that
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                                  13
                                       consumers were generally unaware of the aftermarket restrictions. In the SCAC, Plaintiffs cite an
                                  14
                                       article depicting Tesla owners that have experienced “unexpected headaches” with their cars,
                                  15
                                       which speaks to a general lack of consumer awareness of the alleged issues with Tesla EVs prior
                                  16

                                  17   to purchase. SCAC ¶ 87. Further, the SCAC indicates that Plaintiffs and consumers, generally,

                                  18   were not aware of the repair restrictions and service center limitations described in the complaint.

                                  19   See id. ¶¶ 10–28, 84–87.
                                  20          Notably, Plaintiffs go further. They reason that consumers were unaware of the repair
                                  21
                                       restrictions in their warranties because Tesla misleads consumers into believing their EVs require
                                  22
                                       little to no maintenance, have fewer moving parts, and receive over-the-air software updates. See
                                  23
                                       id. ¶¶ 61, 94–95. See id. Despite Tesla publicizing freely available manuals, its electronic parts
                                  24

                                  25   catalog, and Toolbox diagnostic software, Plaintiffs allege that Tesla restricts individual shops and

                                  26   car owners from conducting everything but the most minimal repair. See id. ¶ 88.

                                  27          To this point, Defendant argues that Plaintiffs concede that consumers are knowledgeable
                                  28
                                       of Tesla’s restrictions as they are “now widely documented.” Motion, at 7 (emphasis added). The
                                                                                        16
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                                       critical and relevant inquiry is whether Tesla purchasers were generally unaware of aftermarket
                                   1

                                   2   restrictions at the time of foremarket purchase. If the Court were to follow Defendant’s logic, the

                                   3   filing of this litigation could have made Tesla’s shortcomings and restrictions widely known,

                                   4   thereby precluding Plaintiffs from pleading their case.
                                   5
                                              Several of the Plaintiffs purchased their Tesla EVs prior to the articles, tweets, and online
                                   6
                                       forums presented in the Second Consolidated Amended Complaint. Based on evidence cited by
                                   7
                                       Plaintiffs, it is plausible that a significant portion of Tesla purchasers were unaware of their
                                   8
                                       vehicles’ forthcoming service and repair issues at the time of purchase. See, e.g., SCAC ¶ 87.
                                   9

                                  10          Plaintiffs must also sufficiently plead that they “did not knowingly enter a contract” that

                                  11   would lock them into the aftermarkets associated with their foremarket Tesla EV. Epic Games, 67
                                  12   F.4th at 977. Plaintiffs’ unawareness hinges on whether Plaintiffs were aware of the aftermarket
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                                  13
                                       restrictions contained in their EV warranty. Tesla’s Parts, Body, & Paint Repair Limited Warranty
                                  14
                                       states that the warranty “may be voided, or coverage may be excluded, due to lack of or improper
                                  15
                                       maintenance, installation, service or repairs.” SCAC ¶¶ 182–86. Though Plaintiffs cite, and
                                  16

                                  17   Defendant highlights, an article describing consumers choosing “not to use independent repair

                                  18   shops or aftermarket parts . . . for fear of losing warranty coverage,” it is plausible that consumers,

                                  19   generally, were and remain unaware of these repair restrictions. SCAC ¶ 189. It is also plausible
                                  20   that consumers learned of these issues after their Tesla EV purchase, either after coming across
                                  21
                                       such an article, or running into their own maintenance issue. In either case, consumer awareness,
                                  22
                                       conceivably, arose after purchase.
                                  23
                                                                      (ii)    Plaintiffs sufficiently plead significant information costs.
                                  24

                                  25          The second requirement is that “‘significant’ information costs prevent accurate life-cycle

                                  26   pricing.” Epic Games, 67 F.4th at 977; see also Eastman Kodak, 504 U.S. at 473–74. For

                                  27   example, in Eastman Kodak, the Supreme Court held that photocopiers were “complex, durable
                                  28
                                       equipment” that presented significant information costs because they required a “sophisticated
                                                                                       17
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                                       analysis,” including “availability of products needed to operate, upgrade, or enhance the initial
                                   1

                                   2   equipment, as well as service and repair costs, including estimates of breakdown frequency, nature

                                   3   of repairs, price of service and parts, length of ‘downtime,’ and losses incurred from downtime.”

                                   4   Id. at 473–74.
                                   5
                                               Electric vehicles are as complex, if not more so, than the photocopiers addressed in
                                   6
                                       Eastman Kodak. Plaintiffs plausibly allege that “[i]t is difficult, if not impossible, for a consumer
                                   7
                                       to accurately forecast how much repair and maintenance [] will be required” for their EVs. SCAC
                                   8
                                       ¶ 103. Further, Plaintiffs allege that Tesla’s public misstatements distort the lifecycle costs for
                                   9

                                  10   Tesla. These alleged misrepresentations could plausibly hinder consumer ability to accurately

                                  11   price the life of their vehicle at the time of purchase and make knowledgeable purchasing
                                  12   decisions. See Eastman Kodak, 504 U.S. at 473 (“For the service-market price to affect equipment
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                                  13
                                       demand, consumers must inform themselves of the total cost of the “package”—equipment,
                                  14
                                       service, and parts—at the time of purchase; that is, consumers must engage in accurate lifecycle
                                  15
                                       pricing.”).
                                  16

                                  17           Plaintiffs also claim that lifecycle pricing is impossible because EVs are “a relatively new

                                  18   product and Tesla is a relatively new producer.” SCAC ¶ 105. Because of the recency of this

                                  19   industry, common variables of EV ownership may be extremely difficult to determine at the time
                                  20   of purchase, “including the number of accidents one may have, how many miles the car will drive,
                                  21
                                       and how long the buyer will own the car,” making lifecycle pricing difficult. Id. at ¶ 104.
                                  22
                                               Plaintiffs further allege that three of the largest data providers used by automotive industry
                                  23
                                       professionals to estimate repair costs have no data on Tesla EVs. See SCAC ¶ 106. Thus, even if
                                  24

                                  25   a consumer wanted to and could synthesize the data presented to them to accurately price a Tesla,

                                  26   they may not have the critical means to do so. Although the SCAC does provide an alternative

                                  27   source for maintenance costs, see SCAC ¶¶ 204, 122, this does not defeat their argument. While
                                  28
                                       average yearly maintenance cost is one of the significant components to accurate lifecycle pricing
                                                                                       18
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                                       of a vehicle, it does not include the cost of collisions which can be significant. Further, it is not
                                   1

                                   2   clear when this information was posted online, and whether consumers would have had access as

                                   3   early as 2019.

                                   4           Regardless, Plaintiffs identify inconsistencies in Tesla’s sales and services that add
                                   5
                                       additional barriers to lifecycle pricing. Plaintiffs allege that Tesla sells its parts inconsistently both
                                   6
                                       to its own service centers and TACCs, which can frustrate a consumer’s vehicle price knowledge
                                   7
                                       while keeping that consumer in the dark about how much the EV will cost long-term. See SCAC ¶
                                   8
                                       163. Plaintiffs further document a recurring practice by Tesla of refusing maintenance following
                                   9

                                  10   routine trivial fixes by third-party repair shops, or charging the full price to replace an out-of-

                                  11   warranty part with minimal damage. Id. ¶¶ 188, 206–08. Plaintiffs have met their pleading burden
                                  12   under this prong. It is beyond the scope of these proceedings to delve further into the distinctions
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                                  13
                                       between the appropriate lifecycle pricing mechanisms and the mechanisms Plaintiffs use to
                                  14
                                       demonstrate market power, and ultimately becomes a question for the fact finders.
                                  15
                                                                       (iii)   Plaintiffs sufficiently plead high switching costs.
                                  16

                                  17           Third, a plaintiff must show that costs prohibit consumers from switching between market

                                  18   goods such that a locked-in effect in the relevant market occurs. See Epic Games, 67 F.4th at

                                  19   979–80; Eastman Kodak Co., 504 U.S. at 476–77 (“If the cost of switching is high, consumers
                                  20   who already have purchased the equipment . . . will tolerate some level of service-price increases
                                  21
                                       before changing equipment brands.”). Switching costs must be “significant” to define a market.
                                  22
                                       Eastman Kodak, 504 U.S at 473; See Klein v. Facebook, Inc., 580 F. Supp. 3d 743, 781 (C.D. Cal.
                                  23
                                       2022) (holding that social media services have a high switching cost because users will be
                                  24

                                  25   reluctant to switch to a new platform “unless many other users make the switch simultaneously”).

                                  26   A plaintiff need not make an extensive showing of switching costs; among other things, a plaintiff

                                  27   can point to the “heavy initial outlay” of the foremarket good and brand-specific purchases.
                                  28
                                       Eastman Kodak, 504 U.S at 477.
                                                                                           19
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                                              In Eastman Kodak, the Court stated that evidence showing “the heavy initial outlay for
                                   1

                                   2   Kodak equipment, combined with the required support material that works only with Kodak

                                   3   equipment, ma[de] switching costs very high for existing Kodak customers.” 504 U.S. at 477. In

                                   4   other words, the high cost of Kodak’s complex foremarket equipment relative to and combined
                                   5
                                       with the restricted, necessary services and parts in the aftermarket made for high switching costs.
                                   6
                                              Plaintiffs tell a similar story here. Tesla EVs range from $40,000 to $110,000, and a
                                   7
                                       purchase can be “one of the biggest purchases” in a consumer’s life. SCAC ¶ 99. Plaintiffs also
                                   8
                                       allege these purchases are often financed through loan or lease with specified contract terms that
                                   9

                                  10   exacerbate the total cost. See id. Plaintiffs further allege that Tesla EVs have some of the lowest

                                  11   resale values in the EV market, making Tesla owners suffer a substantial loss if they were to make
                                  12   a brand switch. See SCAC ¶ 100. This is in addition to the EV owners’ purchase of peripheral
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                                  13
                                       products that only work with Tesla EVs, like home chargers that cost around $400. SCAC ¶ 101.
                                  14
                                       And even if they did make the switch to another EV brand, consumers could not escape Tesla’s
                                  15
                                       approach to alleged repair restrictions as other EV brands “not only have limited sales volume, but
                                  16

                                  17   . . . have also adopted similar policies, practices, and restrictions as . . . Tesla.” SCAC ¶ 82. The

                                  18   high initial cost, investment required for peripheral products, and limited exit options sufficiently

                                  19   support the existence of switching costs.
                                  20          C.      Monopolization and Attempted Monopolization under Section 2 of the
                                  21                  Sherman Act

                                  22          The Second Consolidated Amended Complaint alleges that Defendant monopolized, or

                                  23   attempted to monopolize, the markets for Tesla Repair Services and Tesla-Compatible Parts, in
                                  24   violation of Section 2 of the Sherman Act. SCAC ¶¶ 242–263; 15 U.S.C. § 2. The Court
                                  25
                                       addresses each of these allegations in turn. A Section 2 monopolization claim “has two elements:
                                  26
                                       (1) the possession of monopoly power in the relevant market and (2) the willful acquisition or
                                  27

                                  28
                                                                                         20
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                                       maintenance of that power as distinguished from growth or development as a consequence of a
                                   1

                                   2   superior product, business acumen, or historic accident.” Grinnell, 384 U.S. at 570–71.

                                   3                          a.      Plaintiffs sufficiently plead that Tesla possesses monopoly power
                                                                      in the relevant markets.
                                   4
                                              A plaintiff must establish that a defendant possesses monopoly power, which is the ability
                                   5

                                   6   “to control prices or exclude competition.” Grinnell, 384 U.S. at 571. Antitrust plaintiffs can

                                   7   establish that a defendant possesses monopoly power via direct or indirect evidence. To establish

                                   8   monopoly power via direct evidence, a plaintiff must provide “direct proof of injury to
                                   9   competition,” including “evidence of restricted output and supracompetitive prices.” Forsyth, 114
                                  10
                                       F.3d at 1476. To prove monopoly power via “indirect evidence,” the plaintiff must “(1) define the
                                  11
                                       relevant market, (2) show that the defendant owns a dominant share of that market, and (3) show
                                  12
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                                       that there are significant barriers to entry and show that existing competitors lack the capacity to
                                  13

                                  14   increase their output.” Id.

                                  15          Here, Plaintiffs provided direct and indirect evidence of monopoly power in the Telsa

                                  16   Repair Services and Tesla-Compatible Parts markets.
                                  17
                                                                      i.     Plaintiffs sufficiently plead monopoly power in the Tesla
                                  18                                         Repair Services market.

                                  19          Plaintiffs provided sufficient direct and indirect evidence of monopoly power in the Tesla

                                  20   Repair Services market to survive a motion to dismiss.
                                  21          For direct evidence, Plaintiffs allege that Tesla has restricted output by reducing supply of
                                  22
                                       service-providers. Tesla has accomplished this, in part, by refusing to invest in its own service
                                  23
                                       center infrastructure, and limiting the growth of TACCs. Id. ¶ 151. Though Tesla EV sales have
                                  24
                                       increased substantially, service offerings have not. Id. ¶ 85. This has created delay and allowed
                                  25

                                  26   Tesla to charge supracompetitive prices.

                                  27          Plaintiffs also provided sufficient indirect evidence of monopoly power. As discussed

                                  28   above, Plaintiffs sufficiently defined the Tesla Repair Services market. Further, Plaintiffs plead
                                                                                         21
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                                       that Tesla has a dominant share of this market because virtually all Tesla services are performed
                                   1

                                   2   by Tesla or its “limited network of Tesla-Approved Collision Centers,” of which Tesla maintains

                                   3   such tight control over that they are not competitors. Id. ¶ 67. This is because they must rely on

                                   4   Tesla to source Tesla-Compatible Parts and to set pricing. See id. ¶ 66. To become a TACC, body
                                   5
                                       shops must purchase expensive equipment and undergo extensive training. Id. ¶¶ 170–72.
                                   6
                                              Plaintiffs also sufficiently allege the existence of barriers to entry into the Tesla Repair
                                   7
                                       Services aftermarket. Tesla maintains its power over service due to the unique, computer-like
                                   8
                                       nature of its EV. Only Tesla can provide the full range of EV repairs and maintenance. SCAC ¶
                                   9

                                  10   90. It does this, Plaintiffs claim, by designing Tesla EVs to require remote diagnostic and

                                  11   software updates that only it can provide. Id. Even if independent service providers have access
                                  12   to the Toolbox software which offers some repair services, it is limited, expensive, and inadequate
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                                  13
                                       to the point that consumers must still report to Tesla for such repairs. Id. ¶¶ 90, 144, 165. Indeed,
                                  14
                                       many of the parts used for maintenance and repairs will not function until they are coded by Tesla,
                                  15
                                       and no other provider can code these parts. Id. ¶¶ 92, 138-43, 147–50. Thus, Plaintiffs sufficiently
                                  16

                                  17   plead monopoly power in the Tesla Repair Services market.

                                  18                                  ii.     Plaintiffs sufficiently plead monopoly power in the Tesla-
                                                                              Compatible Parts market.
                                  19
                                              Plaintiffs also provided direct and indirect evidence of monopoly power in the Tesla-
                                  20
                                       Compatible Parts markets to survive a motion to dismiss. For direct evidence, Plaintiffs allege that
                                  21

                                  22   Tesla has excluded manufacturer competitors and restricted output preventing Original Equipment

                                  23   Manufacturers (“OEMs”) from selling “to anyone other than Tesla.” Id. ¶ 77. Plaintiffs also allege
                                  24   that though Tesla may sell parts directly to consumers, it only does so on a limited basis. Id.
                                  25
                                              Plaintiffs also provide indirect evidence of monopoly power. Plaintiffs make the same
                                  26
                                       indirect argument as to Defendant’s near total control over the repair services market. Plaintiffs
                                  27
                                       further plausibly allege the significant barriers to entry and increased output for potential
                                  28
                                                                                          22
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                                       competitors. For example, once consumers purchase a Tesla, similar to services, they are locked
                                   1

                                   2   into the Tesla-Compatible Parts aftermarket. Like Kodak, Plaintiffs allege there is no viable

                                   3   substitute for Tesla parts and that most Tesla-Compatible parts are not interchangeable with other

                                   4   EV parts. SCAC ¶ 72. Tesla’s batteries, for instance, cannot be serviced or replaced by anyone
                                   5
                                       but Tesla. Id. ¶ 179. Indeed, many of the parts used for maintenance and repairs will not function
                                   6
                                       until they are coded by Tesla, and no other provider can code these parts. SCAC ¶¶ 92–93.
                                   7
                                       Plaintiffs further allege Tesla also prevents OEMs from manufacturing and selling Tesla-
                                   8
                                       Compatible Parts to anyone other than Tesla. SCAC ¶ 144. Thus, potential parts competitors face
                                   9

                                  10   numerous barriers to entry into the market, and Plaintiffs sufficiently plead monopoly power in the

                                  11   Tesla-Compatible Parts market.
                                  12                          b.      Plaintiffs sufficiently plead willful acquisition of power and
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                                                                      anticompetitive conduct.
                                  13

                                  14          Defendant recognizes, and Plaintiffs concede, that monopoly power on its own is not a

                                  15   violation of the Sherman Act. “Mere possession of monopoly power, and the concomitant

                                  16   charging of monopoly prices, is . . . an important element of the free market system.”
                                  17
                                       Dreamstime.com, LLC, 54 F.4th at 1137. The possession of monopoly power “will not be found
                                  18
                                       unlawful unless it is accompanied by an element of anticompetitive conduct.” Verizon Commc’ns
                                  19
                                       Inc. v. Law Offs. of Curtis V. Trinko, 540 U.S. 398, 407 (2004). To this end Plaintiffs plead that
                                  20
                                       Tesla’s conduct is anticompetitive. Plaintiffs plead that a series of Tesla decisions led to
                                  21

                                  22   insufficient availability of replacement parts and repair services to increase Tesla’s profits.

                                  23   Plaintiffs claim Tesla was incentivized to keep as much market share of the aftermarkets as it
                                  24   could with the expectation that these markets would become profitable in the long term. See
                                  25
                                       SCAC ¶ 151. This promise of profits explains, Plaintiffs allege, Tesla’s anticompetitive conduct
                                  26
                                       and why it has not invested further into the service and parts aftermarkets. See id. ¶ 150. Beyond
                                  27
                                       Tesla’s barriers to entry, limited diagnostic tools, misrepresentations, and warranty woes,
                                  28
                                                                                         23
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                                       Plaintiffs allege Tesla has de facto exclusivity agreements preventing OEM and suppliers from
                                   1

                                   2   manufacturing Tesla-Compatible Parts for anyone other than Tesla. See id. ¶¶ 157–58. Tesla has

                                   3   also authored cease and desist letters preventing independent repair shops from offering Tesla

                                   4   repair services. See id. ¶ 162.
                                   5
                                               It is important not to confuse allegations of anticompetitive conduct with stifling the
                                   6
                                       innovation of a unique and cutting-edge consumer good. Anticompetitive conduct does not
                                   7
                                       include “product improvement” nor innovations that attract consumers to a particular product due
                                   8
                                       to price, service, or terms advantages. Allied Orthopedic Appliances Inc. v. Tyco Health Care
                                   9

                                  10   Grp. LP, 592 F.3d 991, 999 (9th Cir. 2010). The existence of the alleged markets, market power,

                                  11   and anticompetitive conduct are “factual question[s]” that “remain open for resolution” either for
                                  12   or against Plaintiffs. Newcal, 513 F.3d at 1051. At this stage of the proceedings, Plaintiffs have
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                                  13
                                       sufficiently alleged monopolization, or alternatively, attempted monopolization, in the Tesla
                                  14
                                       Repair Services and Tesla-Compatible Parts markets in violation Section 2 of the Sherman Act.
                                  15
                                               D.      Tying Claims under Section 1 of the Sherman Act
                                  16

                                  17           Plaintiffs further allege that Defendant’s unlawful tying arrangement violates Section 1 of

                                  18   the Sherman Act. SCAC ¶¶ 264–75. A tying arrangement is “an agreement by a party to sell one

                                  19   product but only on the condition that the buyer also purchases a different (or tied) product, or at
                                  20   least agrees that he will not purchase that product from any other supplier.” Kodak, 504 U.S. at
                                  21
                                       461. To establish the existence of a tie, a plaintiff must demonstrate that the arrangement includes
                                  22
                                       two or more distinct products, that the tie is “forc[ing] the buyer into a purchase of a tied product,”
                                  23
                                       and that the tie is unlawful. Id.
                                  24

                                  25           Here, Plaintiffs allege three separate tying arrangements: (1) the Tesla EV Market

                                  26   foremarket is tied to both the Tesla-Repair Services and Tesla-Compatible Parts aftermarkets (2)

                                  27   the Tesla-Compatible Parts aftermarket is tied to the Tesla Repair Services aftermarket, and (3) the
                                  28
                                                                                         24
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                                       Tesla Repair Services aftermarket is tied to the Tesla-Compatible Parts aftermarket. See SCAC ¶¶
                                   1

                                   2   269–71. As discussed below, Plaintiffs have sufficiently plead both prongs.

                                   3                  1.     Plaintiffs sufficiently allege the existence of distinct products.

                                   4           To constitute two separate products, “[t]here must be sufficient consumer demand so that
                                   5
                                       it is efficient for a firm to provide” the products separately. See Eastman Kodak, 504 U.S. at 462
                                   6
                                       (citing Jefferson Parish Hospital Dist. No. 2 v. Hyde, 466 U.S. 2 (1984)). “The efficiency showing
                                   7
                                       may be inferred from ‘more readily observed facts.’ These include consumer requests to offer the
                                   8
                                       products separately, disentangling of the products by competitors, analogous practices in related
                                   9

                                  10   markets, and the defendant’s historical practice.” Epic Games, 67 F.4th at 995; see Eastman

                                  11   Kodak, 504 U.S. at 463 (finding sufficient at the 12(b)(6) stage allegations that “consumers would
                                  12   purchase service without parts” and that the defendant had sold them “separately in the past.”)
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                                  13
                                              In Epic Games, the Ninth Circuit Court of Appeals found the district court “clearly erred”
                                  14
                                       by not focusing on two products’ sufficient consumer demand when the district court found no tie.
                                  15
                                       67 F.4th at 996. Contrary to Apple’s assertion, Apple’s app distribution software and in-app
                                  16

                                  17   purchasing (IAP) platform could be separate markets because Apple separated them in other

                                  18   contexts. Id. The court further found that because other companies sought to develop their own

                                  19   IAPs, there was evidence of efficiency in and a separate market for the tied product. Id.
                                  20          The Supreme Court in Eastman Kodak held that a tying arrangement existed between two
                                  21
                                       aftermarket products: Kodak parts and Kodak service. 504 U.S. at 463. The Court held that
                                  22
                                       petitioner provided sufficient evidence that “[a]t least some consumers would purchase service
                                  23
                                       without parts, because some service does not require parts, and some consumers, those who self-
                                  24

                                  25   service for example, would purchase parts without service.” Id. Kodak argued that there could

                                  26   never be separate markets service for service and parts because there is no demand for parts

                                  27   separate from service. Id. The Court, however, rejected this line of thinking because it would lead
                                  28
                                       to the illogical result that there could not separate markets for “cameras and film, computers and
                                                                                           25
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                                       software, or automobiles and tires.” Id. The Court also concluded that Kodak’s attempts to
                                   1

                                   2   bifurcate customers with different pay-rates—depending on whether they “serviced their own

                                   3   machines or received third-party maintenance”—suggested product separation. Id. at 462.

                                   4             Here, focusing on the first alleged tie, Tesla EVs in the foremarket can be separated from
                                   5
                                       the parts and services aftermarkets. Plaintiffs bring their claims because of Tesla’s chosen
                                   6
                                       practice to limit access to its service and parts to only Tesla and its approved providers, eroding
                                   7
                                       Tesla’s service quality and secondary market value. See SCAC ¶¶ 3, 7. Plaintiffs also make the
                                   8
                                       contrast between automobile providers like Ford and their relatively abundant service and parts
                                   9

                                  10   provisions and that of Tesla’s. See id. ¶ 85. That collision centers and body shops outside of

                                  11   Tesla are seeking to receive training, equipment, and parts suggests that, like the in-app
                                  12   purchasing platform in Epic Games, there is efficiency and separation between Tesla EVs and its
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                                  13
                                       aftermarkets.
                                  14
                                                 Between services and parts, Plaintiffs sufficiently allege there is sufficient demand and
                                  15
                                       efficiency because service and parts have been sold separately in the past and are still sold
                                  16

                                  17   separately. In Eastman Kodak, the Court found that Kodak’s “policy of allowing customers to

                                  18   purchase parts on condition that they agree to service their own machines suggests that the

                                  19   demand for parts can be separated from the demand for service.” 504 U.S. at 462 n.5. Similarly,
                                  20   Tesla’s warranty discourages Tesla EV owners from receiving service outside of Tesla by
                                  21
                                       suggesting that the warranty “may be voided or coverage may be excluded due to improper
                                  22
                                       maintenance, service or repairs.” SCAC ¶¶ 182–83. Further, Tesla’s over-the-air software updates
                                  23
                                       and diagnostic reports do not require any parts. See SCAC ¶¶ 94–95. This separation of
                                  24

                                  25   consumers who received Tesla service and those who went outside of Tesla to receive service

                                  26   suggests the existence of a separate market for its parts and a separate market for service and

                                  27   repair.
                                  28
                                                                                          26
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                                                      2.      Plaintiffs sufficiently plead that the tying scheme coerced consumers.
                                   1

                                   2          “Even where a transaction involves separate products, it is not necessarily a tie; the seller

                                   3   must also ‘force the buyer into the purchase of a tied product that the buyer either did not want at

                                   4   all, or might have preferred to purchase elsewhere on different terms.’” Epic Games, 67 F.4th at
                                   5
                                       996 (citing Jefferson Parish, 466 U.S. at 12).
                                   6
                                              Plaintiffs allege that consumers attempt to receive both services and parts outside of Tesla,
                                   7
                                       but are coerced into forgoing those options to stay within warranty. See SCAC ¶ 189.
                                   8
                                       Specifically, Tesla forces consumers to purchase the tied product by threatening to void warranties
                                   9

                                  10   if consumers use non-Tesla certified service providers or if they use non-OEM parts. See id.; See

                                  11   Jefferson Parish, 466 U.S. at 12 (The seller must also “force the buyer into the purchase of a tied
                                  12   product that the buyer either did not want at all or might have preferred to purchase elsewhere on
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                                  13
                                       different terms.”). In Eastman Kodak, the plaintiffs were forced to receive services from only
                                  14
                                       Kodak due to unique machine parts, similarly, Tesla EV owners are limited in their options to
                                  15
                                       receive service and parts due to Tesla’s market power in the EV submarket and Tesla’s own
                                  16

                                  17   conduct. See Eastman Kodak, 504 U.S. at 482. The EV parts and repair aftermarkets for Tesla

                                  18   EVs and other EVs/ICE vehicles are not substitutes for each other, meaning there is no cross

                                  19   elasticity of demand; this further aides Plaintiffs in their argument. See SCAC ¶¶ 57-59.
                                  20          Finally, Plaintiffs allege that Tesla excludes competition in the repairs and parts market by
                                  21
                                       limiting diagnostic tools and manuals (Id. ¶¶ 226(f), 246(c)) and misleading consumers (Id. ¶¶ 61,
                                  22
                                       94-95). Plaintiffs claim that there is an insignificant number of independent service providers
                                  23
                                       because of Tesla’s Repair Restrictions. Even the TACCs which are “independent”, are not really
                                  24

                                  25   because they must rely on Tesla to source Tesla-Compatible Parts and pricing. Id. ¶ 66. Thus,

                                  26   Plaintiffs have sufficiently plead that Tesla’s tying scheme coerces customers into undesired

                                  27   purchases.
                                  28
                                                                                        27
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                                                      3.      Plaintiffs sufficiently plead that the ties are unlawful.
                                   1

                                   2          “A tie can be unlawful pursuant to either a modified per se rule or the Rule of Reason. A

                                   3   tie is per se unlawful if (1) the defendant has market power in the tying product market, and (2) the

                                   4   “tying arrangement affects a ‘not insubstantial volume of commerce’ in the tied product market.”
                                   5
                                       Epic Games, 67 F.4th at 996–97 (quoting Blough v. Holland Realty, Inc., 574 F.3d 1084, 1089
                                   6
                                       (9th Cir. 2009)). As discussed above, Plaintiffs have sufficiently plead that Tesla possesses market
                                   7
                                       power in all three markets. Further, given that Plaintiffs alleged that Tesla controls “virtually all”
                                   8
                                       of the commerce in the Tesla-Compatible Parts and Tesla Repair Services markets, it is plausible
                                   9

                                  10   to infer that these tying arrangements would affect a “not insubstantial volume of commerce” in

                                  11   these markets. Thus, Plaintiffs have sufficiently plead tying claims.
                                  12          E.      Plaintiffs sufficiently allege unlawful tying in violation of the Cartwright Act.
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                                  13
                                              “The analysis under California's antitrust law mirrors the analysis under federal law
                                  14
                                       because the Cartwright Act, Cal. Bus. & Prof. Code § 16700 et seq., was modeled after the
                                  15
                                       Sherman Act.” County of Tuolumne v. Sonora Comm. Hosp., 236 F.3d 1148, 1160 (2001).
                                  16

                                  17   However, the Cartwright Act is distinct in that it does not apply claims in which “the tying item is

                                  18   a service.” Morrison v. Viacom, Inc., 66 Cal. App. 4th 534, 546 (1998). In their opposition,

                                  19   Plaintiffs appeared to concede that they were prohibited from asserting a tying claim under the
                                  20   Cartwright Act based on Tesla Repair Services as the tying product. Oppo., at 21 fn.13 (“Tesla
                                  21
                                       asserts that Plaintiffs’ Cartwright Act claim alleging Tesla Repair Services as a tying product must
                                  22
                                       be dismissed. . . . Regarding that aspect and only that aspect of Plaintiffs’ claim, Tesla is correct.”)
                                  23
                                       As such, Plaintiffs’ Cartwright Act claim is dismissed to the extent it is based on a Tesla Repair
                                  24

                                  25   Services as the tying product. Plaintiffs’ Cartwright Act claims alleging that EVs and Tesla-

                                  26   Compatible Parts as the tying products are maintained.

                                  27

                                  28
                                                                                         28
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                                              F.      Plaintiffs sufficiently plead a combination in restraint of trade in violation of
                                   1                  the Cartwright Act.
                                   2
                                              Plaintiffs claim that Defendant’s de facto exclusivity agreements with the TACCs and
                                   3
                                       manufacturers constitute horizontal restraints that are per se violations of the Cartwright Act. The
                                   4
                                       Ninth Circuit has held that California courts would agree with its holding that hybrid agreements
                                   5

                                   6   are not per se violations. Dimidowich, 803 F.2d, at 1481–82. Thus, Plaintiffs’ claims are subject to

                                   7   the Rule of Reason. Plaintiffs, again, argue that these restraints are per se violations of the law.

                                   8   However, as stated above, plaintiff has not sufficiently plead that this hybrid conspiracy is a per se
                                   9   violation. Thus, the Rule of Reason applies to these claims. The Rule of Reason applies
                                  10
                                       “essentially the same” regardless of “whether the alleged antitrust violation” is based on concerted
                                  11
                                       or independent. As previously noted, Plaintiffs’ allegations regarding de facto exclusivity
                                  12
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                                       agreements were sufficient to form the basis for independent unlawful restraints of trade. As such,
                                  13

                                  14   these allegations are sufficient to form the basis for concerted restraints on trade.

                                  15          G.      Plaintiffs sufficiently plead a violation of the California Unfair Competition
                                                      Law (UCL).
                                  16
                                              Plaintiffs allege that defendant violated the UCL which prohibits any unlawful, unfair, or
                                  17

                                  18   fraudulent business practice. See id. ¶¶ 303, 310. The statute’s “purpose is to protect both

                                  19   consumers and competitors by promoting fair competition in commercial markets for goods and

                                  20   services.” Abbott Labs. v. Superior Court, 9 Cal. 5th 642, 651 (2020) (citing Kasky v. Nike,
                                  21   Inc. 27 Cal.4th 939, 949 (2002)). “By proscribing any unlawful business practice, section 17200
                                  22
                                       borrows violations of other laws and treats them as unlawful practices that the unfair competition
                                  23
                                       law makes independently actionable.” Abbott Labs., 9 Cal. 5th at 651. (Internal citation omitted).
                                  24
                                       Here, Plaintiffs assert that Tesla engaged in both unlawful and unfair business practices. SCAC ¶¶
                                  25

                                  26   303, 310. Since Plaintiffs have sufficiently pled the elements for relief under the Sherman Act and

                                  27   Cartwright Act, Plaintiffs sufficiently plead unlawful business practices in violation of the UCL.

                                  28
                                                                                         29
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                                   1

                                   2   V.     CONCLUSION

                                   3          The Court finds that Plaintiffs have plausibly alleged a cause of action for monopolization

                                   4   and unlawful tying under the Sherman act and causes of action under the Cartwright and
                                   5
                                       California UCL.
                                   6
                                              Accordingly, for the foregoing reasons the Court DENIES Defendant’s Motion as to
                                   7
                                       claims 1 through 5 and 7. The Court further DENIES claim 6 to the extent it relies on EVs or
                                   8
                                       Tesla-Compatible Parts as a tying product. The Court GRANTS Defendant’s Motion, with
                                   9

                                  10   prejudice, as to claim 6 to the extent it relies on services as a tying product.

                                  11          This resolves docket number 135.
                                  12
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                                              IT IS SO ORDERED.
 United States District Court




                                  13
                                       Dated: June 17, 2024
                                  14

                                  15

                                  16                                                                  TRINA L. THOMPSON
                                                                                                      United States District Judge
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